






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-97-00320-CR


NO. 03-97-00321-CR







Bryson McClinton, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY,


119TH &amp; 51ST JUDICIAL DISTRICTS


NOS. B-95-0334-S &amp; A-95-0463-S, HONORABLE JOHN E. SUTTON, JUDGE PRESIDING








		These are appeals from orders revoking community supervision.  On June 12,
1996, appellant, Bryson McClinton, entered pleas of guilty to two indictments each charging theft,
a state jail felony.  See Tex. Penal Code Ann. § 31.03(e)(4)(D) (West Supp. 1998). (1) The guilty
pleas were accepted by a visiting judge in a bench trial.  The trial court assessed punishment at
two years' confinement and a $250 fine in each case.  The imposition of the sentences was
suspended and appellant was placed on community supervision in each case subject to certain
conditions.

		Subsequently, the State filed motions to revoke community supervision.  These
motions alleged that appellant had violated the conditions of his community supervision by (1)
failing to pay the required monthly payment of $30.00 for the months July, August, and
September, 1996 (2) and (2) by possessing and using cocaine during the period of community
supervision on or about August 28, 1996.

		On January 24, 1997, Judge John E. Sutton of the 119th District Court conducted
a hearing on the revocation motions.  At the conclusion of the hearing, Judge Sutton revoked
community supervision in each case by finding that appellant had failed to make the required
monthly payment for the month of September 1996, and that appellant had possessed and used
cocaine as alleged.  The sentences were thereafter imposed. 


Points of Error



		Appellant advances three points of error.  In the first and third points, appellant
contends that the trial court abused its discretion in revoking the community supervision on
grounds of failure to make the September 1996 required payment and on possession and use of
cocaine on or about August 28, 1996.  The second point of error contends that the trial court erred
in overruling the motion for new trial because Judge Sutton should have been disqualified from
hearing the revocation motions.




Facts--The Third Point of Error


		Ruben Robles, Community Supervision Officer, testified that on August 28, 1996,
in accordance with the conditions imposed upon appellant, he obtained a urine specimen from
appellant and submitted it to the Accu--Chem Laboratory for an urinalysis.  Dr. John Laseter,
director of the laboratory, conducted the urinalysis and reported that test "clearly confirmed a
positive breakdown of cocaine in the urine."  Appellant testified that he was at a barbecue and
inhaled secondhand crack cocaine smoke which resulted in the positive urinalysis for cocaine.


Revocation Procedure


		In a proceeding to revoke community supervision, the burden of proof is upon the
State to show by a preponderance of evidence that the "probationer" (3) has violated the conditions
of community supervision as alleged in the motion to revoke.  See Cobb v. State, 851 S.W.2d
871, 873 (Tex. Crim. App. 1993); Jenkins v. State, 740 S.W.2d 435, 437 (Tex. Crim App.
1983).  If the State sustains its burden, the decision whether to revoke is within the trial court's
discretion.  Flournoy v. State, 589 S.W.2d 705, 707 (Tex. Crim. App. 1979); Ortega v. State,
860 S.W.2d 561, 564 (Tex. App.--Austin 1993, no pet.).  In a revocation proceeding, the trial
court is the trier of fact and the judge of the credibility of the witnesses and of the weight of the
testimony.  See Garrett v. State, 619 S.W.2d 172, 174 (Tex. Crim. App. 1981); Hays v. State,
933 S.W.2d 659, 660 (Tex. App.--San Antonio 1996, no pet.).  On appeal, we review the evidence
in the light most favorable to the trial court's order revoking probation.  See Ortega, 860 S.W.2d
at 564; Galvan v. State, 846 S.W.2d 161, 162 (Tex. App.--Houston [1st Dist.] 1993, no pet.). 
The only question presented on appeal is whether the trial court abused its discretion in revoking
community supervision.  See Jackson v. State, 645 S.W.2d 303, 305 (Tex. Crim. App. 1983);
Stevens v. State, 900 S.W.2d 348, 351 (Tex. App.--Texarkana 1995, pet. ref'd).


Conclusion--The Third Point of Error



		In the instant case, appellant acknowledges the facts produced before the trial court,
but urges that it was an abuse of discretion for the trial court to revoke community supervision
on the basis of one failed drug urinalysis.  We do not agree.  The third point of error is overruled.


First Point of Error



		The general rule is that if one violation of the conditions of community supervision
is supported by the evidence, it is unnecessary to consider the sufficiency of the evidence to
support the other violation found by the trial court.  See Sanchez v. State, 603 S.W.2d 869, 871
(Tex. Crim. App. 1980); Moses v. State, 590 S.W.2d 469, 470 (Tex. Crim. App. 1979); Jones
v. State, 571 S.W.2d 191, 193-94 (Tex. Crim. App. 1978); Burke v. State, 930 S.W.2d 230, 232
(Tex. App.--Houston [14th Dist.], pet. ref'd).  Therefore, we do not reach appellant's point of
error one in light of our disposition of point of error three.


Judicial Disqualification


		In his second point of error, appellant urges that the trial court erred in denying the
motion for new trial based on the ground that Judge Sutton was disqualified to conduct the
revocation hearing.  The basis of such motion was that appellant had written Judge Sutton a letter
in March 1994 advising the judge that appellant intended to file a lawsuit against the judge for
violations of the Texas Deceptive Trade Practices Act and violations of appellant's civil rights. 
Judge Sutton voluntarily disqualified himself from hearing the new trial motion.  The hearing was
conducted before a different district judge.

		No rule requires the trial court to consider a motion for new trial after revocation
of probation or community supervision.  See Ausborne v. State, 499 S.W.2d 179, 180 (Tex. Crim.
App. 1973); Munoz v. State, 233 S.W.2d 494, 496 (Tex. Crim. App. 1950); see also Ochoa v.
State, 536 S.W.2d 233, 345 (Tex. Crim. App. 1976); Casey v. State, 519 S.W.2d 559, 560 n.1
(Tex. Crim. App. 1975); Crosley v. State, 648 S.W.2d 434, 436 (Tex. App.--Fort Worth 1983,
no pet.).  In the instant case, appellant's motion for a new trial was considered.

		When asked at the hearing why the matter was not raised in advance of the
revocation hearing, appellant explained that he informed his attorney, but no action was taken. 
Appellant acknowledged that after writing the letter or presenting his "claim," he did not file a
lawsuit or take other action.  He explained that Judge Sutton had been the trial judge when he had
been convicted several years before and had refused upon request to appoint different counsel for
him, and that he had been displeased with counsel's action at trial and on appeal.  He had
threatened to sue both the judge and appointed counsel.  It was stipulated that Judge Sutton had
received the letter.  Finding no basis to support the ground stated in the new trial motion, it was
denied.

		Article V, section 11 of the Texas Constitution provides in pertinent part:



	No judge shall sit in any case wherein he may be interested, or where either of the
parties may be connected with him, either by affinity or consanguinity, within such
a degree as may be prescribed by law, or when he shall have been counsel in the
case.



		Article 30.01 of the Texas Code of Criminal Procedure provides:



	No judge or justice of the peace shall sit in any case where he may be the party
injured, or where he has been of counsel for the State or the accused, or where the
accused or the party injured may be connected with him by consanguinity or
affinity within the third degree.



Tex. Code Crim. Proc. Ann. art. 30.01 (West 1989).


		The Court of Criminal Appeals has held that the grounds of disqualification stated
in the Texas Constitution and the Code of Criminal Procedure are exclusive.  See Ricondo v.
State, 657 S.W.2d 439, 447 (Tex. App.--San Antonio 1983, no pet.) (citing Ex parte Largent, 162
S.W.2d 419, 426 (Tex. Crim. App. 1942) (op. on reh'g)).  These provisions have been held
mandatory.  Gamez v. State, 737 S.W.2d 315, 318 (Tex. Crim. App. 1987).  It would appear then
that a disqualification of a trial judge in a criminal matter must comply with the strict requirements
of the constitutional and statutory criminal procedure provisions.  See Elam v. State, 841 S.W.2d
937, 939 (Tex. App.--Austin 1992, no pet.).

		In the past it was held that bias and prejudice of a trial judge not based on
"interest" was not a legal disqualification.  Zima v. State, 553 S.W.2d 378, 380 (Tex. Crim. App.
1977).  These earlier cases have been overruled, and to the list of constitutional and statutory
prohibitions, the Court of Criminal Appeals has added "judicial bias" so long as it is shown to
be of such extent as to deny a defendant due process of law.  See McClenan v. State, 661 S.W.2d
108, 109 (Tex. Crim. App. 1983); Elam, 841 S.W.2d at 940; Cumpian v. State, 812 S.W.2d 88,
91 (Tex. App.--San Antonio 1991, no pet.).  It is not necessary that an objection be made, nor may
the disqualification of a judge be waived, even by consent of the parties.  Gamez, 737 S.W.2d at
318.  The issue may be raised at any time.  Id.; Madden v. State, 911 S.W.2d 236, 240 (Tex.
App.--Waco 1995, pet. ref'd).

		Appellant relies upon McClenan alleging judicial bias of such extent as to deny him
due process of law.  There was no motion to disqualify or recuse Judge Sutton prior to the
revocation hearing and the issue was not raised during the hearing.  Since the issue may be raised
at any time, appellant based his motion for new trial on this ground.  See State v. Evans, 843
S.W.2d 576, 578 (Tex. Crim. App. 1992) (not necessary that grounds for new trial be one of
those listed in Tex. R. App. P. 21.3 (formerly Rule 30(b))).  Appellant's claim of "judicial bias"
set forth in his new trial motion is bottomed solely on the fact that in 1994 he sent the judge a
letter threatening a lawsuit.  No lawsuit was ever filed.

		In Chamberlain v. State, 453 S.W.2d 490, 492 (Tex. Crim. App. 1970), it was
held that the filing of civil action by a robbery defendant against a prosecutor and the trial judge
did not disqualify the trial judge.  The Court added:


	If the mere filing of a civil action against a judge presiding at a criminal case
would disqualify him, then any judge would be subject to disqualification at the
whim of a defendant.  Such practice, if followed, could delay or prevent the trial
of a case.


Id. at 492.


		In the instant case all that was shown was that several years before the revocation
hearing, appellant threatened a lawsuit and that the judge received the letter.  A trial judge ruling
on a question of bias as a ground for disqualification must decide whether the movant has
provided facts sufficient to establish that a reasonable person knowing all the circumstances
involved, would harbor doubts as to the impartiality of the trial judge whose disqualification is
sought.  Kemp v. State, 846 S.W.2d 289, 305 (Tex. Crim. App. 1992), cert. denied, 113 S. Ct.
2361 (1993).  There was no showing by appellant of "judicial bias" to the extent that he was
denied due process of law.  The trial court did not abuse its discretion in overruling the motion
for new trial.

		In his brief, appellant notes that there was also bias because Judge Sutton, in
announcing his findings at the conclusion of the revocation hearing, had referred to appellant's
defense of "second-hand crack cocaine smoke" as "ludicrous" and referred to appellant as "a
person with your background" without any evidence of background being in the record.  This
claim of bias was not included in the motion for a new trial, the overruling of which is complained
of in this point of error.  Judge Sutton had personal knowledge or could have taken judicial notice
of the two state jail felony convictions in which appellant had been granted community
supervision.  Appellant himself proved that Judge Sutton had been the trial judge at the time of
a previous felony conviction.  Before alleged bias becomes sufficient to warrant the
disqualification of a judge, it "must stem from an extra judicial source and result in an opinion
on the merits on some basis other than what the judge learned from his participation in the case." 
Kemp, 846 S.W.2d at 306 (quoting United States v. Grinnell Corp., 384 U.S. 563, 583 (1966)). 
Under the circumstances, this belated claim does not show that appellant was deprived of the due
process of law.  The second point of error is overruled.

		The orders revoking community supervision are affirmed.



						                                                                       

						John F. Onion, Jr., Justice

Before Justices Powers, Jones and Onion*

Affirmed on both causes

Filed:  January 8, 1998

Do Not Publish









*	Before John F. Onion, Jr., Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. § 74.003(b) (West 1988).

1.   The current code is cited for convenience.  The law applicable at the time of the offenses
(May 13 and 25, 1995) was Act of May 29, 1993, 73d Leg. R.S., ch. 900, § 1.01, 1993 Tex.
Gen. Laws 3586, 3636-38 (Tex. Penal Code § 31.03(e)(4)(D), since amended but unchanged).
2.   Under the conditions of community supervision, the monthly payments were to be
applied toward the total amount of restitution, the fine imposed, and community supervision fees.
3.   The terms "probation" and "community supervision" generally mean the same thing and
are used interchangeably.  See Rodriguez v. State, 939 S.W.2d 211, 220 (Tex. App.--Austin 1997,
no pet.).


P&gt;	If the mere filing of a civil action against a judge presiding at a criminal case
would disqualify him, then any judge would be subject to disqualification at the
whim of a defendant.  Such practice, if followed, could delay or prevent the trial
of a case.


Id.